        NOT
USCA Case     YET SCHEDULED
          #22-7063               FOR ORAL
                   Document #1977150   Filed:ARGUMENT
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                             No. 22-7063


        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT


 American Society for Testing and Materials; National Fire Protection
  Association, Inc; American Society of Heating, Refrigerating, and
                   AirConditioning Engineers, Inc.
                                                            Appellants,

                                  v.

                      Public.Resource.Org, Inc.,
                                                                Appellee.


         Appeal from the United States District Court for the
                        District of Columbia
         Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC


NOTICE OF LIBRARY FUTURES INSTITUTE, EVERYLIBRARY
     INSTITUTE, AUTHOR’S ALLIANCE, AND PUBLIC
 KNOWLEDGE OF INTENTION TO PARTICIPATE AS AMICI
          CURIAE IN SUPPORT OF APPELLEE
               PUBLIC.RESOURCE.ORG


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December 11, 2022
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       Notice of Intention to Participate as Amicus Curiae

      Pursuant to Fed. R. App. Proc. 29(a)(2) and D.C. Cir. R. 29(b),

Library Futures Institute, EveryLibrary Institute, Author’s Alliance,

and Public Knowledge hereby notify this Court of their intent to file an

amicus curiae brief in the above-captioned matter in support of Appellee

Public.Resource.Org, Inc. Amicus intends to file a brief of no more than

6,500 words, which will present arguments not made by Appellee, that

will assist the Court’s consideration of this case. In accordance with

D.C. Cir. Rule 29(d), counsel to amici have coordinated with other amici

in support of Appellee and made sure that the arguments in the brief

are new and that a separate brief is necessary. All parties have

consented to the filing of this brief.

                   Corporate Disclosure Statement

      Pursuant to D.C. Cir. R. 26.1 and 28(a)(1)(A) and Fed. R. App. Pr.

29.1(a)(4)(A), amici Library Futures Institute, EveryLibrary Institute,

Author's Alliance, and Public Knowledge state that they have no parent

corporations and that no publicly held corporation or other publicly held

entity owns ten percent (10%) or more of amici.




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                     CERTIFICATE OF SERVICE

     I certify that, on December 11, 2022, this notice was filed using

the Court’s CM/ECF system. All participants in the case are registered

CM/ECF users and will be served electronically via that system.



                                           /s/ Harold Feld

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